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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                               )
 In re:                                        )     Chapter 11
                                               )
 ALEXANDER E. JONES,                           )     Case No. 22-33553 (CML)
                                               )
           Debtors.                            )
                                               )

                     NOTICE OF FILING OF PROPOSED AGREED
                 SCHEDULING ORDER FOR CONFIRMATION HEARING

          PLEASE TAKE NOTICE that, on November 21, 2023, Alexander E. Jones, as debtor and

debtor in possession (“Jones” or the “Debtor”) in the above captioned chapter 11 case (the “Jones

Case”) filed the Debtor’s Motion Requesting Status Conference [ECF No. 494].

          PLEASE TAKE FURTHER NOTICE that, on November 22, 2023, the Committee, the

Texas Plaintiffs and the Connecticut Plaintiffs filed the Statement by the Official Committee of

Unsecured Creditors and the Sandy Hook Families Regarding Status of the Chapter 11 Case and

Proposed Creditors’ Plan [ECF No. 498].

          PLEASE TAKE FURTHER NOTICE that, on November 27, 2023, the Court held a

status conference regarding a confirmation timeline in the Jones Case and the pending bankruptcy

case of Free Speech Systems, LLC (“FSS” and such case, the “FSS Case”).

          PLEASE TAKE FURTHER NOTICE that the Jones, the Committee, the Texas Plaintiffs

and the Connecticut Plaintiffs (together, the “Parties”) have met and conferred as to a proposed

schedule in respect of a confirmation hearing in the Jones Case and have agreed to the Proposed

Agreed Scheduling Order for Confirmation Hearing attached hereto as Exhibit A (the “Proposed

Order”).
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       PLEASE TAKE FURTHER NOTICE THAT the Proposed Order was shared with

counsel to FSS in an effort to reach global consensus regarding a confirmation timeline for both

the Jones Case and the FSS Case. FSS has not agreed to be bound the dates contained therein.

Accordingly, the Parties request that the Court enter a separate order in the FSS Case that comports

with the timeline contemplated by the Proposed Order.

                             [Remainder of page intentionally blank]




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Dated: November 30, 2023                             Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that, on November 30, 2023, a true and correct copy of the foregoing
document was served via email through the Bankruptcy Court’s Electronic Case Filing System on
the parties that have consented to such service.

                                                  /s/ Marty L. Brimmage, Jr.
                                                  Marty L. Brimmage, Jr.




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